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        UNITED STATES DISTRICT COURT DISTRICT OF
                     MASSACHUSETTS




LISA MACKEY-FUENTES
Plaintiff

                                                        CIVIL ACTION
                                                        NO. 1:22CV10749-WGY
             V.

SHAW’S SUPERMARKETS, INC. ET AL
Defendants



                       SETTLEMENT ORDER OF DISMISSAL
YOUNG, DJ

      The Court having been advised on September 9, 2022 that the above-entitled

action has been settled:


       IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within thirty

(30) days if settlement is not consummated.

                                                         By the Court,
September 12, 2022                                       /s/ Matthew A. Paine
Date                                                     Deputy Clerk
